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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

    RICHATD REIBERT, and                             )
    NORMA LOSORNIO,                                  )
                                                     )
                  Plaintiffs,                        )       Case No. 17-CV-350-CVE-JFJ
                                                     )
    v.                                               )
                                                     )
    CSAA FIRE & CASUALTY INSURANCE                   )
    COMPANY, a foreign for profit insurance          )
    corporation,                                     )
                                                     )
                  Defendant.                         )

                                      OPINION AND ORDER

          Before the Court is Plaintiffs’ Motion to Compel (ECF No. 22), wherein Plaintiffs seek

   discovery regarding Defendant’s use of and reliance upon a company known as Hancock Claims

   Consulting (“Hancock”). Due to the upcoming discovery deadline, the motion was briefed on an

   expedited basis. The Court conducted a hearing on December 28, 2017.

   I.     Background

          In their Complaint, Plaintiffs allege that the roof of their residence was damaged in a wind

   storm on April 26, 2016. Plaintiffs submitted a claim to Defendant CSAA Fire & Casualty

   Insurance Company (“CSAA”) under their homeowners’ insurance policy. Plaintiffs assert claims

   under Oklahoma law for breach of contract and breach of the duty of good faith and fair dealing.

   When Plaintiffs filed the motion to compel, the parties had completed a significant amount of

   discovery. The following background facts are based on evidence submitted in support of briefing

   on the motion to compel or answers to the Court’s questions during oral argument.

          Following an initial investigation of Plaintiffs’ claim by independent adjuster Olga

   Killingsworth (“Killingsworth”), Killingsworth found hail and wind damage to Plaintiffs’ roof.
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   CSAA questioned whether hail damage was covered and instructed Killingsworth to conduct

   further investigation of the wind damage. For purposes of the second inspection, Killingsworth

   employed Hancock, which is known as a “ladder assist” company. Blake Clifton (“Clifton”) was

   the Hancock technician sent to Plaintiffs’ home. During discovery, Plaintiffs gathered evidence

   that could potentially show that Clifton lacked any relevant certifications or qualifications to

   inspect roofs for wind/hail damage, that Clifton spent twenty minutes on Plaintiffs’ roof, and that

   Clifton submitted a one-page report finding no hail damage, no wind damage, and improper

   installation of shingles. CSAA’s Final Loss Report provides:

          REINSPECTION 6/7/2016 – met with member and Hancock ladder assist due to
          14/12 pitch of the left and right main slopes. Per Hancock report – “No wind
          damage was found on slopes. Damage was found on some soft metals. Roof was
          in good condition. Improper install of shingles was found on slopes.” Hail
          damaged items were removed from the estimate due to measurable hail was found
          at the residence prior the policy inception. Estimate provided for interior damages
          due to possible wind driven rain.

   Def.’s Resp. to Mot. to Compel at Ex. 5, ECF No. 34-5. CSAA denied Plaintiffs’ claim. CSAA

   contends it first learned that Clifton lacked the necessary qualifications during Clifton’s deposition

   and that it reasonably relied on Hancock’s representations on its website regarding its technicians’

   qualifications.

          Following the depositions of Clifton and others, Plaintiffs sought additional discovery from

   CSAA. In response to these additional requests, CSAA stated that it utilized Hancock’s services

   on a total of approximately 460 wind and hail damage claims in the State of Oklahoma in the past

   three years. CSAA objected to other requests on grounds of relevance, vagueness, and undue

   burden. Plaintiffs now seek to compel responses to the following discovery requests:

          Interrogatory 9: Of the wind claims wherein CSAA Fire & Casualty Company
          utilized Hancock Claims Consultants in the past three years in the State of




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          Oklahoma, identify the number of claims where Hancock Claims Consultants
          found zero or minimal damages1 to the shingled roof surface.

          Interrogatory 10: Of the hail claims wherein CSAA Fire & Casualty Company
          utilized Hancock Claims Consultants in the past three years in the State of
          Oklahoma, identify the number of claims where Hancock Claims Consultants
          found zero or minimal damages to the shingled roof surface.2

          Interrogatory 11: Of the wind claims in the past three years in the State of
          Oklahoma, identify the number of claims where CSAA Fire & Casualty Company
          found zero or minimal damages to the shingled roof surface.

          Interrogatory 12: Of the hail claims in the past three years in the State of Oklahoma,
          identify the number of claims where CSAA Fire & Casualty Company found zero
          or minimal damages to the shingled roof surface.

          Request for Production 32: Produce all reports for all inspections done by Hancock
          Claims Consultants on behalf of CSAA Fire & Casualty Company or other
          affiliated company during the past two years.

          Request for Production 33: Produce all photographs for all inspections done by
          Hancock Claims Consultants on behalf of CSAA Fire & Casualty Company or
          other affiliated company during the past two years.

   Pl.’s Mot. to Compel at 8-10 (footnotes added), ECF No. 22.

   II.    Legal Standard

          Federal Rule of Civil Procedure 1 is the guidepost for resolution of discovery disputes. It

   provides that the rules of civil procedure should be “construed, administered, and employed by the

   court and the parties to secure the just, speedy, and inexpensive determination of every action and

   proceeding.” Fed. R Civ. P. 1. Federal Rule of Civil Procedure 26(b)(1) governs the specific

   dispute in this case. As amended effective December 1, 2015 (“2015 Amendment”), Rule 26(b)(1)

   provides:



   1
     “Minimal damages” is defined in the requests as $2,500.00 or less. CSAA abandoned its
   vagueness objection upon realizing this definition existed, and this objection is overruled as moot.
   2
     CSAA did not argue that hail-damage claims were irrelevant or less relevant than wind-damage
   claims. Instead, CSAA made identical arguments in relation to both types of claims. Therefore,
   the Court’s analysis does not distinguish between wind and hail claims.


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          Unless otherwise limited by court order, the scope of discovery is as follows:
          Parties may obtain discovery regarding any nonprivileged matter that is relevant to
          any party’s claim or defense and proportional to the needs of the case, considering
          the importance of the issues at stake in the action, the amount in controversy, the
          parties’ relative access to relevant information, the parties’ resources, the
          importance of the discovery in resolving the issues, and whether the burden or
          expense of the proposed discovery outweighs its likely benefit. Information within
          this scope of discovery need not be admissible in evidence to be discoverable.

   For purpose of any requested information, courts must inquire: “(1) is the information privileged;

   (2) is it relevant to a claim or defense; and (3) is it proportional to the needs of the case.” Gordon

   v. T.G.R. Logistics, Inc., 321 F.R.D. 401, 402 (D. Wyo. 2017). In this case, CSAA disputes the

   relevance and proportionality of the requested discovery.

          A.      Relevance Standard

          Rule 26(b)(1) permits discovery “relevant to any party’s claim or defense.” Following the

   2015 Amendment, “relevance is still to be ‘construed broadly to encompass any matter that bears

   on, or that reasonably could lead to other matter that could bear on’ any party’s claim or defense.”

   United States ex rel. Shamesh v. CA, Inc., 314 F.R.D. 1, 8 (D.D.C. 2016) (quoting Oppenheimer

   Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978)). Lower courts within the Tenth Circuit have

   endorsed this broad view of relevance following the 2015 Amendment. See Benavidez v. Sandia

   Nat’l Labs., 319 F.R.D. 696, 717 (D.N.M. 2017) (adopting above-quoted standard for analyzing

   whether discovery is “relevant” to party’s claim or defense); Rowan v. Sunflower Elec. Power

   Corp., No. 15-CV-9227-JWL-TJJ, 2016 WL 3745680, at *2 (D. Kan. July 13, 2016) (same);

   Taylor v. Hy-Vee, Inc., No. 15-9718-JTM, 2016 WL 7405669, at *5 n.36 (D. Kan. Dec. 22, 2016)

   (same); see also Henry v. Morgan’s Hotel Group, Inc., 2016 WL 303114 at *3 (S.D.N.Y. Jan. 25,

   2016) (same). Courts use “a broad definition of relevance when determining whether discovery is

   permissible, because discovery is designed to help define and clarify the issues.” Barton v.




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   Tomacek, No. 11-CV-0619-CVE-TLW, 2012 WL 4735927, at *4 (N.D. Okla. Oct. 3, 2012)

   (internal quotation omitted).

          The 2015 Amendment deleted the following oft-cited language: “Relevant information

   need not be admissible at trial if the discovery appears reasonably calculated to lead to the

   discovery of admissible evidence.” This language was removed because it was being used “by

   some, incorrectly, to define the scope of discovery” and to “swallow” the other appropriate

   limitations on discovery.       See Fed. R Civ. P. 26 advisory committee’s notes to the 2015

   amendment. In its place, the rule simply states that “[i]nformation within this scope of discovery

   need not be admissible in evidence to be discoverable.” Fed. R. Civ. P. 26(b)(1). After the 2015

   Amendment, “relevance” for purposes of discovery remains broader than “relevance” for purposes

   of trial admissibility. The 2015 Amendment also deleted language that permitted discovery “of

   any matter relevant to the subject matter involved in the action” upon a showing of good cause.

   This language was removed because it was “rarely invoked” and redundant with language

   permitting discovery relevant to a claim or defense:

          The amendment deletes the former provision authorizing the court, for good cause,
          to order discovery of any matter relevant to the subject matter involved in the
          action. The Committee has been informed that this language is rarely invoked. The
          distinction between matter relevant to a claim or defense and matter relevant to the
          subject matter was introduced in 2000. The 2000 Note offered three examples of
          information that, suitably focused, would be relevant to the parties’ claims or
          defenses. The examples were “other incidents of the same type, or involving the
          same product”; “information about organizational arrangements or filing systems”;
          and “information that could be used to impeach a likely witness.” Such discovery
          is not foreclosed by the amendments.

   See Fed. R Civ. P. 26 advisory committee’s notes to the 2015 amendment (emphasis added).

   Although the amendment eliminates the distinction between “claims or defense” discovery and

   “subject matter” discovery, it does not appear to foreclose any category of previously available




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   information.3 In light of these deletions, parties must demonstrate the requested discovery’s

   relevance to a “claim or defense” and should avoid using any outdated language in their briefs.

   See Amii N. Castle, A Comprehensive Overview: 2015 Amendments to the Federal Rules of Civil

   Procedure, 64 U. Kan. L. Rev. 837, 853 (2016) (cautioning that attorneys “should omit ‘relevant

   to [] subject matter’” and “reasonably calculated” from “the discovery vernacular altogether”).

          Although the broad concept of relevance remains largely intact following the 2015

   Amendment, Rule 26(b)(1) “does not authorize unlimited discovery.” Barton, 2012 WL 4735927,

   at *4. The fact that a plaintiff has a “broad theory of the case” does not automatically justify broad

   discovery. Id. Courts should prevent speculative “fishing expeditions,” whereby a party “pleads

   its allegations in entirely indefinite terms, without in fact knowing of any specific wrongdoing by

   the defendant, and then bases massive discovery requests upon those nebulous allegations, in the

   hope of finding particular evidence of wrongdoing.” Koch v. Koch Indus., Inc., 203 F.3d 1202,

   1238 (10th Cir. 2000). This type of fishing expedition is an abuse of the judicial process. Id. The

   2015 Amendment continues the trend of “encouraging more judicial involvement in discovery,”

   and the broad relevance standard must be considered in conjunction with the proportionality

   considerations. See Fed. R. Civ. P. 26 advisory committee’s note to 2015 amendment (“The

   present amendment again reflects the need for continuing and close judicial involvement in the

   cases that do not yield readily to the ideal of effective party management.”); see also Henry, 2016

   WL 303114, at *3 (explaining that the amended rule is intended to “encourage judges to be more




   3
     Deletion of this language eliminated the “two-tiered” discovery process created by the 2000
   amendments. The Tenth Circuit had previously explained that “the first tier [was] attorney-
   managed discovery of information relevant to any claim or defense of a party, and the second [was]
   court-managed discovery that can include information relevant to the subject matter of the action.”
   In re Cooper Tire & Rubber Co., 568 F.3d 1180, 1190 (10th Cir. 2009). There are no longer two
   tiers of discovery, and this language is inapplicable to the current Rule 26(b)(1).


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   aggressive in identifying and discouraging discovery overuse by emphasizing the need to analyze

   proportionality before ordering production of relevant information”) (internal quotation omitted).

          B.      Proportionality Considerations

          The most significant change made by the 2015 Amendment to Rule 26(b)(1) was the

   increased emphasis on the concept of proportionality.4 Moving these considerations to the text of

   Rule 26(b)(1) reinforced the Court’s obligation to consider proportionality factors when ruling on

   disputes and the parties’ obligation to consider the factors when submitting their requests,

   responses, and objections. See Fed. R. Civ. P. 26 advisory committee’s note to 2015 amendment;

   see also Nat’l R.R. Passenger Corp. v. Cimarron Crossing Feeders, LLC, No. 16-CV-1094-JTM-

   TJJ, 2017 WL 4770702, at *4 (D. Kan. Oct. 19, 2017) (“One of the changes restored

   proportionality to the definition of the scope of discovery and was intended to reinforce the parties’

   Rule 26(g) obligation to consider the proportionality factors in discovery.”).

          A “proportionality” analysis involves six enumerated considerations: (1) the importance of

   the issues at stake in the action, (2) the amount in controversy, (3) the parties’ relative access to

   relevant information, (4) the parties’ resources, (5) the importance of the discovery in resolving

   the issues, and (6) whether the burden or expense of the proposed discovery outweighs its likely

   benefit. Fed. R Civ. P. 26(b)(1). The committee explained that “monetary stakes” of a given case

   are “only one factor, to be balanced against other factors” and that vindication of personal or public

   values may play a role in the proportionality analysis. Fed. R Civ. P. 26 advisory committee’s

   notes to the 2015 amendment. Moving these considerations to the text of Rule 26(b)(1) was not




   4
     The considerations formerly appearing in Rule 26(b)(2)(c)(iii), along with one addition, were
   labeled as “proportionality” considerations and moved to the text of Rule 26(b)(1). See Fed. R
   Civ. P. 26 advisory committee’s notes to the 2015 amendment (explaining that considerations were
   “slightly rearranged and with one addition”).


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   intended to “place on the party seeking discovery the burden of addressing all proportionality

   considerations.” Id. Nor was it intended to “permit the opposing party to refuse discovery simply

   by making a boilerplate objection that it is not proportional.” Id. The committee offered the

   following explanation of the parties’ respective obligations, and the Court’s role, in assessing

   proportionality:

          A party claiming undue burden or expense ordinarily has far better information --
          perhaps the only information -- with respect to that part of the determination. A
          party claiming that a request is important to resolve the issues should be able to
          explain the ways in which the underlying information bears on the issues as that
          party understands them. The court’s responsibility, using all the information
          provided by the parties, is to consider these and all the other factors in reaching a
          case-specific determination of the appropriate scope of discovery.
   Id.

   III.   Relevance of Plaintiffs’ Discovery Requests

          The relevance of discovery regarding Hancock’s inspection of the roofs of hundreds of

   other insureds is not “readily apparent,” and Plaintiffs bear the “burden of showing the relevance

   of the requested information.” See Design Basics, L.L.C. v. Strawn, 271 F.R.D. 513, 523 (D. Kan.

   2010) (“[W]hen the relevancy of the requested discovery is not readily apparent, the party seeking

   the discovery has the burden to show the relevancy of the request.”); Barton, 2012 WL 4735927,

   at *4. In their briefs, Plaintiffs argue the information is relevant to the reasonableness of CSAA’s

   reliance on Hancock’s report:

          [CSAA] will likely argue that it acted reasonably and in good faith by relying on
          the opinion of Blake Clifton and Hancock in the denial of Plaintiffs’ wind damage
          claim. Implicit in this defense is that [CSAA] didn’t have any reason to think Blake
          Clifton or Hancock would be unqualified or biased in its favor. The discovery
          sought by Plaintiffs will show the opposite. It will prove that, of the hundreds of
          claims which Hancock has inspected wind and/or hail on behalf of AAA, the vast
          majority, if not all of them, resulted in findings of “improper installation,” no wind
          or hail damage, and a denial of payment by [CSAA].




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   Pl.’s Mot. to Compel at 13, ECF No. 22. Plaintiffs contend CSAA wants to have “its cake and eat

   it too” by “arguing that its reliance on Hancock was reasonable while at the same time withholding

   the very documents that show it was not.” Pl.’s Reply in Support of Mot. to Compel at 2, ECF

   No. 35. Plaintiffs also argue the information is relevant to show a state-wide, consistent pattern of

   CSAA’s denial of claims in which Hancock conducted the roof inspection:

          Plaintiffs allege [CSAA’s] denial of their wind damage claim was in accordance
          with [its] routine practice for the handling of like claims involving shingles
          unsealed by wind. . . . Plaintiffs should be able to show how many claims involving
          Hancock have resulted in little or no payment by [CSAA], and what Hancock has
          said in those reports. This evidence will show that the denial of Plaintiffs’ claim
          was not a “one-off” mistake by [CSAA] but instead is part of a state-wide pattern
          and practice of improperly denying wind damage claims based upon inspections
          done by Hancock.

   Pl.’s Mot. to Compel at 13, ECF No. 22.5

          In response, CSAA argues that Plaintiffs have no factual support for these theories of bad-

   faith conduct and that “Plaintiffs are on a fishing expedition hoping to find evidence of their

   baseless and conclusory allegations.” Def.’s Resp. to Mot. to Compel at 6, ECF No. 34. CSAA

   also argues that the facts of this case do not support any finding of the intentional use of Hancock

   to deny Plaintiffs’ claim. See id. at 11 (“There is not a shred of evidence that CSAA engaged the

   services of Hancock for the purposes of obtaining a biased report.”). CSAA further argues that

   the discovery cannot have any significance given the disparity between claims and varying reasons

   for denial.   See id. at 12 (arguing that discovery would “[a]t most” show that “CSAA’s

   investigation revealed that the insured had not presented a claim that was covered under the terms

   of the policy, the damage did not exceed the insured’s deductible, etc.”).



   5
    For the first time at oral argument, Plaintiffs also argued the evidence was relevant to their claim
   for punitive damages. Because the Court finds the requested information relevant to
   reasonableness and the “pattern and practice” theory, both of which were fully briefed by both
   parties, the Court does not reach this issue.


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          Plaintiffs have met their burden of showing the requested discovery, as limited by the Court

   in Part V of this Opinion and Order, is relevant to the second and third elements of their bad-faith

   claim under Oklahoma law. See Okla. Unif. Jury Instr. Civil (2d) No. 22.2 (requiring Plaintiffs to

   show CSAA’s “refusal to pay the claim in full was unreasonable under the circumstances” and

   that CSAA “did not deal fairly and in good faith with Plaintiffs”); Garnett v. Gov’t Employees Ins.

   Co., 186 P.3d 935, 944 (Okla. 2008) (explaining that “[a] central issue is whether the insurer had

   a good faith belief in some justifiable reason for the actions it took or omitted to take that are

   alleged to be violative of the duty of good faith and fair dealing”). Under the specific facts

   presented, discovery regarding Hancock’s performance of other roof inspections is relevant to

   whether CSAA acted reasonably and in good faith in relying upon Clifton and/or Hancock. CSAA

   contends each claim is unique and that there could be no meaningful or relevant use of the

   requested data. However, CSAA’s arguments are more akin to admissibility arguments and are

   premature. Requested information need not be admissible to be discoverable, Fed. R. Civ. P.

   26(b)(1), and discovery regarding “other incidents” may be permissible if relevant to a claim or

   defense and otherwise proportional to the needs of the case, see Fed. R. Civ. P. 26 advisory

   committee’s notes to 2015 amendment. In this case, the requested statistics and reports are relevant

   to proving specific elements of Plaintiffs’ claim and refuting CSAA’s defenses. Further, if Clifton

   inspected fifty homes where insureds claimed wind damage and found zero wind damage on every

   occasion, this information could potentially be relevant to the reasonableness of CSAA’s reliance

   on Clifton/Hancock, irrespective of any individualized analysis of these other insureds’ claims.

          Plaintiffs have also shown relevance to a “pattern” theory of bad-faith conduct, which is

   generally permitted under Oklahoma law. See Vining v. Enter. Fin. Group, 148 F.3d 1206, 1218

   (10th Cir. 1998) (finding that, where plaintiff sought to prove a pattern and practice of bad-faith




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   conduct by insured, evidence regarding other insureds was relevant to show defendant “acted in

   this case under Federal Rule of Evidence 406 (habit)” and that prejudice of evidence did not

   outweigh relevance of inquiry into defendant’s “general business practices”); Metzger v. Am. Fid.

   Assur. Co., No. CIV-05-1387-M, 2007 WL 4342082, at *1 (W.D. Okla. Dec. 7, 2007) (same).6

   For the same reasons explained above, the requested numerical data and reports are relevant to the

   specific theory that CSAA engaged in a state-wide pattern of denying claims in bad faith based on

   Hancock’s findings and reports. Oklahoma courts have granted similar discovery regarding an

   alleged “pattern” of bad-faith conduct. See Magellan v. Zurich Am. Ins. Co., No. 16-CV-668-

   CVE-FHM 2017 WL 3579209, at *2 (N.D Okla. Aug. 18, 2017) (compelling request for

   production of 85 other claim files where claimant was an employee of named insured and

   claimant’s policy had similar language to plaintiff’s policy based on relevance to pattern and

   practice theory and punitive damages); Jones v. Farmers Ins. Co., No. CIV-11-159-R, 2012 WL

   12863976, at *2-3 (W.D. Okla. Feb. 29, 2012) (compelling interrogatory answer regarding number

   of times in past five years Farmers did not pay for roof damages under a specific circumstance

   similar to plaintiffs’ denial, as relevant to whether Farmers engaged in pattern or practice of

   denying such claims and to punitive damages); Providence Church, Inc. v. Guideone Ins., CIV-

   06-1201-D, 2008 WL 11338501, at *4 (W.D. Okla. Jan. 18, 2008) (granting discovery requests

   regarding “code upgrade” claims of other insureds as relevant to whether defendant engaged in

   pattern and practice of categorically refusing certain claims and as relevant to punitive damage

   considerations).



   6
     Although CSAA cited cases standing for the general proposition that “conduct regarding other
   insureds is of no consequence,” see, e.g., Moses v. State Farm Mut. Auto. Ins. Co., 104 F.R.D. 55,
   57 (N.D. Ga. 1984); Taco, Inc. v. Fed. Ins. Co., No. CIV.A. 07-27S, 2007 WL 4269810, at *2
   (D.R.I. Nov. 30, 2007), these cases did not involve interpretation of Oklahoma law and/or did not
   involve a tort claim for breach of the duty of good faith and fair dealing.


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          CSAA argues that, even if generally permitted under Oklahoma law, “pattern” discovery

   should not be permitted here because the facts do not conform to the alleged pattern of bad-faith

   conduct. Specifically, CSAA contends that Plaintiffs’ claim history demonstrates that CSAA

   employees had legitimate reasons for requesting further inspection by Hancock; that Killingsworth

   (not CSAA) made the decision to hire Hancock; and that Killingsworth (not Hancock) found “zero

   wind damage” to Plaintiffs’ roof. For purpose of this discovery ruling, Plaintiffs have made an

   adequate showing of relevance to a “pattern” of conduct consistent with CSAA’s use of Hancock

   in conjunction with its denial of these Plaintiffs’ claim. As the Court observed during the hearing,

   even though the final loss report was drafted by Killingsworth, it uses the words “per Hancock

   report.” Further, it appears Hancock was either the only vendor or one of two “ladder assist”

   vendors approved by CSAA during the relevant time. CSAA may ultimately demonstrate an

   absence of bad-faith conduct and/or avoid admission or use of this evidence; however, the

   requested information is relevant for discovery purposes.

          The Court has carefully considered whether Plaintiffs are engaged in a fishing expedition,

   i.e., whether Plaintiffs seek the information based on mere speculation about what these

   numbers/reports might show. In this case, Plaintiffs have garnered adequate support for their

   theories and are not abusing the judicial process. Clifton testified in his deposition that he was not

   a licensed adjuster, had no relevant qualifications or certifications, and received no training from

   CSAA. Clifton estimated that, in cases where he examined wind damage, he found no damage

   sixty-five to seventy percent of the time. Clifton Dep. 174:22-175:5, Ex. 7 to Pl.’s Mot. to Compel,

   ECF No. 22-7. He also answered “yeah” to the question of whether he was finding “improper

   installation . . . almost universally” and stated that “[h]e would say probably 100 percent of my

   roofs are going to have some sort of installation error.” Id. at 176:19-25. This is important,




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   according to Plaintiffs, because failing to distinguish between wind-damaged unsealed shingles

   which are properly installed, and those which are improperly installed, could result in repeated

   improper denials by CSAA. See Pls.’ Reply in Support of Mot. to Compel at 3. Although CSAA

   adamantly disputes the meaning and context of this deposition testimony by Clifton and disputes

   that it had any reason to believe Clifton lacked the necessary qualifications, Plaintiffs have

   provided at least some support for their assertion that the requested discovery could be numerically

   significant or reveal a significant pattern of conduct by Hancock/CSAA. Therefore, based on

   existing evidence regarding Clifton’s usual practices, and the fact that he was the Hancock

   representative who inspected Plaintiffs’ roof, the Court concludes that Plaintiffs are not engaging

   in a fishing expedition or otherwise abusing the judicial process.7

   IV.    Proportionality of Plaintiffs’ Discovery Requests

          CSAA focused its argument on the “burden” consideration of the proportionality analysis,

   and the Court addresses the burden of each request. Although not specifically argued by CSAA,

   the Court also addresses the other proportionality factors below.

          A.      Burden - Interrogatories 9 and 10

          Answering these interrogatories will require CSAA to review the approximately 460 claims

   already identified and determine the total the number of times Hancock found $2,500.00 or less in

   wind or hail damages. CSAA contends this cannot be done with electronic search terms and will

   require manual review of each claim. Even manual review of this number of reports for this

   information is not an undue burden, in consideration of the needs of the case and other



   7
     At the hearing, the Court inquired whether Clifton was one of several Hancock technicians in the
   State of Oklahoma. If Clifton was one of a dozen, his deposition testimony has less meaning in
   relation to a request for all Hancock reports. However, the parties stated that Hancock utilizes a
   small number of technicians in the area, and that Clifton is currently one of two technicians for
   Hancock in this area.


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   proportionality factors discussed below. Considering the specific evidence presented by Plaintiffs

   to support the requests, the Court finds the burden and expense of responding to Interrogatories 9

   and 10, as described by CSAA, does not outweigh the likely benefit of the discovery.

          B.      Burden - Interrogatories 11 and 12

          The Court agrees with CSAA that, as originally worded, Interrogatories 11 and 12 were

   overly burdensome because they requested CSAA’s findings of zero to minimal damages in all

   wind and hail cases in the State of Oklahoma for the past three years. As explained above, the

   Court finds Plaintiffs’ requested discovery relevant only in cases where Hancock was utilized.

   Plaintiffs’ counsel could not articulate the need for all wind and hail claims and indicated these

   requests were intended to be limited to claims in which Hancock was utilized.           Although

   Interrogatories 11 and 12 were poorly drafted, this limitation is consistent with Plaintiffs’

   arguments in their briefs. See Pls.’ Reply in Support of Mot. to Compel at 4 (arguing that “it is

   still unknown what [CSAA] does when it evaluates the information it receives from Hancock” and

   that the information sought “will prove that [CSAA] denies substantially all wind claims based

   upon Hancock’s reports”).

          As limited by the Court to those claims in which CSAA utilized Hancock, the Court finds

   Interrogatories 11 and 12 to be relevant and not overly burdensome. Again, CSAA has already

   identified the approximate 460 instances in which it utilized Hancock to inspect for wind or hail

   damage during the requested time frame. CSAA’s remaining task is to total the number of

   instances in which CSAA found zero or minimal wind or hail damage in these same cases. As

   limited by the Court, the discovery is now targeted to the specific theory involving Hancock and

   is reasonably limited in temporal scope. Considering the specific evidence presented by Plaintiffs




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   to support the requests, the Court finds the burden of responding to Interrogatories 11 and 12 does

   not outweigh the likely benefit of the discovery.

          C.      Burden - Requests for Production 32 and 33

          The Court agrees with CSAA that, as originally worded, Requests for Production 32 and

   33 were overly broad and burdensome because they requested all Hancock reports and photographs

   produced for CSAA, rather than those limited to wind and hail claims in the State of Oklahoma.

   Plaintiffs’ counsel indicated at the hearing that he believed these were implicit limitations based

   on the nature of Hancock’s work for CSAA and that these requests were intended to be limited in

   this manner.

          As limited by the Court to Hancock reports addressing wind and hail claims in the State of

   Oklahoma, the Court finds the requests to be relevant and not overly burdensome. Plaintiffs have

   already identified the requested Hancock reports for the past three years, and the requests for

   production are limited to the past two years. Therefore, CSAA will be required to generate less

   than 460 reports and then redact names and addresses of other insureds. The discovery is targeted

   to the specific theory involving Hancock and is reasonably limited in temporal scope. Considering

   the specific evidence presented by Plaintiffs to support the requests, the Court finds the burden of

   responding to Requests for Production 32 and 33 does not outweigh the likely benefit of the

   discovery.

          D.      Other Proportionality Considerations

          All requested discovery, as limited by the Court above, is proportional to the needs of the

   case. The requested discovery is limited to CSAA’s use of Hancock in Oklahoma over a three-

   year period, which involves a known universe of less than five-hundred claims. Plaintiffs are

   requesting numerical data and Hancock reports, rather than the entire claim files. Plaintiffs desire




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   to test the reasonableness of CSAA’s actions and a possible pattern of wrongful denials, and

   Plaintiffs have presented support for their theory through Clifton’s deposition testimony. The

   Court finds the burdens imposed upon CSAA are not onerous and are proportional, considering

   the amount in controversy and the importance of the discovery to the “unreasonableness” and

   “bad-faith” elements of Plaintiffs’ claims. CSAA has already identified the information and

   relevant reports and has adequate resources to conduct the review and generate the documents. In

   addition, as explained above in relation to each specific request, the burden of responding to these

   requests does not outweigh the likely benefit of the discovery.

          In many cases alleging breach of the duty of good faith and fair dealing, this type of “other

   insured” evidence may not survive a relevance or proportionality analysis. However, as explained

   above, Plaintiffs in this case have made a showing that justifies limited, targeted discovery related

   to Hancock’s findings and CSAA’s reliance thereon.

   V.     Conclusion

          Plaintiffs’ Motion to Compel (ECF No. 22) is GRANTED, as limited by the Court in the

   bolded language below. CSAA shall respond to the discovery requests no later than fourteen days

   from the date of this Order, or by January 17, 2018.

          Interrogatory 9: Of the wind claims wherein CSAA Fire & Casualty Company
          utilized Hancock Claims Consultants in the past three years in the State of
          Oklahoma, identify the number of claims where Hancock Claims Consultants
          found zero or minimal damages to the shingled roof surface.

          Interrogatory 10: Of the hail claims wherein CSAA Fire & Casualty Company
          utilized Hancock Claims Consultants in the past three years in the State of
          Oklahoma, identify the number of claims where Hancock Claims Consultants
          found zero or minimal damages to the shingled roof surface.

          Interrogatory 11: Of the wind claims in the past three years in the State of Oklahoma
          [wherein CSAA Fire & Casualty Company utilized Hancock Claims
          Consultants], identify the number of claims where CSAA Fire & Casualty
          Company found zero or minimal damages to the shingled roof surface.



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         Interrogatory 12: Of the hail claims in the past three years in the State of Oklahoma,
         [wherein CSAA Fire & Casualty Company utilized Hancock Claims
         Consultants], identify the number of claims where CSAA Fire & Casualty
         Company found zero or minimal damages to the shingled roof surface.

         Request for Production 32: Produce all reports for all inspections done by Hancock
         Claims Consultants on behalf of CSAA Fire & Casualty Company or other
         affiliated company during the past two years [in the State of Oklahoma related
         to wind or hail damage].

         Request for Production 33: Produce all photographs for all inspections done by
         Hancock Claims Consultants on behalf of CSAA Fire & Casualty Company or
         other affiliated company during the past two years [in the State of Oklahoma
         related to wind or hail damage].

         SO ORDERED this 3rd day of January, 2018.




                                                                 JODIF.JAYNE,
                                                                            MAGISTRATEJ
                                                                                      UDGE
                                                                 UNITEDSTATESDI
                                                                              STRICTCOURT




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